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                                   IN THE DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 IN RE BED BATH & BEYOND                             Case No. 1:22-cv-02541-TNM
 CORPORATION SECURITIES
 LITIGATION



                                    [PROPOSED] ORDER

       Upon consideration of Defendants RC Ventures LLC’s and Ryan Cohen’s (collectively

“Cohen”) Motion for Leave to File Sur-reply in Further Opposition to Plaintiff’s Motion for Class

Certification, it is hereby ORDERED that:

       Cohen’s Motion for Leave to File Sur-reply is GRANTED.

       IT IS SO ORDERED


       Dated:
                                                           ___________________________
                                                           Hon. Trevor N. McFadden
                                                           United States District Judge




                                               1
